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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 DEBORAH HOLMES, et al.,                 CASE NO. 2:20-cv-11390-GCS-RSW

       Plaintiffs,                       Judge George C. Steeh

 v.                                      Magistrate Judge David R. Grand

 POLARIS INDUSTRIES INC.,                DEFENDANT POLARIS
                                         INDUSTRIES INC.’S
       Defendant.                        MOTION TO EXCLUDE THE
                                         TESTIMONY OF PLAINTIFFS’
                                         EXPERT ROBERT KINDER

 Jeffrey T. Stewart (P24138)             Matthew E. Nirider (IL 6290343)
 David S. Shiener (P78608)               Dawn M. Beery (IL 6256520)
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      Defendant Polaris Industries Inc. (“Polaris”), by and through its attorneys,

respectfully moves the Court to exclude the expert testimony of Plaintiffs’ expert,

Robert Kinder.

      In support of this Motion, Polaris relies on the facts, law, and argument set

forth in the accompanying Brief in Support and supporting exhibits.
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      Pursuant to Local Rule 7.1(a) of the United States District Court for the

Eastern District of Michigan, counsel for Polaris conferred in good faith with

Plaintiffs’ counsel on May 18, 2022 and explained the nature of the motion and its

legal basis. Polaris requested, but did not obtain, concurrence in the relief sought.




DATED: May 18, 2022

                                      Respectfully submitted,



                                      s/ Matthew E. Nirider
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                          CERTIFICATE OF SERVICE

      I hereby certify that on May 18, 2022, I electronically filed the foregoing

document with the Clerk of the Court using the ECF system, which will send

notification of such filing to all counsel of record in this matter.



                                         /s/ Matthew E. Nirider
                                         Matthew E. Nirider
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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 DEBORAH HOLMES, et al.,              CASE NO. 2:20-cv-11390-GCS-RSW

       Plaintiffs,                    Judge George C. Steeh

       v.                             Magistrate Judge David R. Grand

 POLARIS INDUSTRIES INC.,             ORAL ARGUMENT REQUESTED

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            MEMORANDUM IN SUPPORT OF POLARIS
          INDUSTRIES INC.’S MOTION TO EXCLUDE THE
       TESTIMONY OF PLAINTIFFS’ EXPERT ROBERT KINDER
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                                ISSUE PRESENTED

      The issue presented in this Motion is whether Plaintiffs’ expert, Robert

Kinder, should be excluded as an expert witness from the trial of this matter,

pursuant to Fed. R. Evid. 702 and Daubert because Mr. Kinder is unqualified, his

proffered opinions are conclusory and unverifiable, and his testimony will not assist

the jury in assessing Plaintiffs’ claims.




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       CONTROLLING OR MOST APPROPRIATE AUTHORITIES

      Fed. R. Evid. P. 702

      Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993)




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                                  INTRODUCTION

       Defendant Polaris Industries Inc. (“Polaris”) asks that the Court bar Robert

 Kinder’s testimony under Rule 702 of the Federal Rules of Evidence and Daubert.

 Plaintiffs intend to offer expert testimony from Mr. Kinder to help prove that

 Plaintiff Deborah Holmes lost control of a Polaris snowmobile and crashed because

 of a defect that led to a stuck-throttle event and failure of the engine to shut down.

 Mr. Kinder, however, is demonstrably unqualified to offer any expert opinions

 concerning the subject snowmobile. He has no specific education or experience on

 snowmobile riding, snowmobile repair, snowmobile throttle systems, or snowmobile

 safety assurance systems. Moreover, unsurprisingly, Mr. Kinder has not and cannot

 identify a defect, let alone identify the cause of the alleged stuck throttle or engine

 shut down failure. Mr. Kinder instead offers nothing but vague, unsupported and

 purely speculative opinions that lack any reference to reliable principles and

 methods. When Mr. Kinder could not replicate the stuck throttle event on the subject

 snowmobile, he supported his opinion exclusively by cherry-picking favorable

 witness testimony without any scientific basis or methodology. When Mr. Kinder

 could not identify a defect that allegedly prevented the engine from shutting down,

 he created his own testing methodology specifically for this case to deduce that there

 was a “probability” that the subject snowmobile’s engine did not shut down. And

 when Mr. Kinder could not conclude that Polaris’s alleged failure to service the


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 subject snowmobile caused Deborah Holmes’s injuries, he assumed that a defect

 existed that Polaris could have “potentially” identified. As such, Mr. Kinder cannot

 offer any specialized knowledge or reliable opinions regarding the subject

 snowmobile’s throttle system that could help the jury understand the evidence at

 issue. For these reasons, Federal Rule of Evidence 702 and Daubert v. Merrell Dow

 Pharmaceuticals, Inc., 509 U.S. 579 (1993) compels the exclusion of Mr. Kinder’s

 proffered testimony.

                                  BACKGROUND

       This is a snowmobile products liability action arising from a February 9, 2019

 single-vehicle snowmobile accident that occurred when Plaintiff Deborah Holmes

 lost control of a 2018 Polaris Switchback 600 Pro S snowmobile (the “Subject

 Snowmobile”), collided with a group of trees, and was injured. At the time of the

 accident, Plaintiff was riding in a group with five others on a groomed trail near

 Munising, Michigan. (Ex. 1, Compl. ¶¶ 5-6, 9.) Plaintiff was operating the Subject

 Snowmobile – which a family friend and member of the riding party had borrowed

 from Polaris as part of Polaris’s Employee Check-out Program – for the first time

 on the date of the accident. (Id. at ¶¶ 5, 25; Ex. 2, D. Holmes Dep. 9:10-18, 39:1-

 16.) After four riders safely crossed a highway, it was Plaintiff’s turn to cross. (Ex.

 2, D. Holmes Dep. 57:24-58:15.) Plaintiff crossed the road and applied the throttle

 to speed up to get over the berm on the far side of the highway. (Id. at 69:6-9.)


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 Plaintiff then contends that the Subject Snowmobile’s throttle stuck, causing

 Plaintiff to accelerate and lose control of the Subject Snowmobile and hit a group of

 trees, resulting in injuries to her legs and pelvis. (Ex. 1, Compl. ¶¶ 12, 16-17; Ex. 2,

 D. Holmes Dep. 121:6-14.)

       A stuck throttle event occurs when the snowmobile’s throttle lever, which is

 connected to the throttle body by a mechanical cable, is released by the rider but the

 throttle cable or plates do not return to the normal closed position. (Ex. 3, Robert

 Kinder Dep. at 26:10-19.) This results in the snowmobile’s engine maintaining its

 speed based on the last throttle position despite the throttle lever being released.

 Because of the possibility of stuck throttle events occurring in some weather and

 riding conditions (i.e., heavy snow or freezing rain, riding in very deep snow, or

 tipping/rolling the snowmobile in deep snow),1 the snowmobile is equipped with a

 throttle release switch (“TRS”). The TRS is designed to detect a mismatch between

 the throttle lever position and the throttle plate position, and respond by shutting

 down the snowmobile’s engine. (Id. at 164:20-165:1.)

       According to Plaintiffs’ theory of the case, for Plaintiff’s accident to occur,

 the Subject Snowmobile must have experienced two distinct conditions: 1) the

 Subject Snowmobile must have suffered a stuck-throttle; and 2) the Subject


 1
  None of these weather or riding conditions existed on the date of the accident and
 Plaintiff had not tipped or rolled her snowmobile on the date of the accident. (Ex.
 2, D. Holmes Dep. 54:23-25, 110:11-15.)
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 Snowmobile’s throttle release switch must have failed to shut the engine down in

 response to that stuck-throttle condition. If either one of these conditions was not

 met, then the accident could not have happened as Plaintiffs contend. In support of

 their allegations, Plaintiffs retained Robert Kinder as an expert witness who intends

 to offer the following opinions:

        A.     Stuck Throttle Opinion

       Mr. Kinder contends that a stuck throttle event caused the accident. Mr.

 Kinder was not, however, able to replicate a stuck throttle condition on the Subject

 Snowmobile. Moreover, not only does Mr. Kinder fail to identify a single “defect”

 in the snowmobile that would have caused the alleged stuck throttle, but he admits

 that neither the physical evidence nor test results can prove a stuck throttle. He

 simply relies on certain witness testimony (while ignoring other contrary testimony)

 to support his opinion that the throttle stuck, all while asserting that he expresses “no

 opinion on the credibility of the witnesses” because “that is not within the scope of

 [his] assignment or expertise.” (Ex. 4, Kinder Rep. at p. 11.)

        B.     Throttle Release Switch Opinion

       Mr. Kinder next offers the opinion that “the engine was capable of failing to

 shut down as designed when a throttle stuck condition occurred.” (Ex. 4, Kinder

 Rep. at p. 12.) The Court should focus on the precise words of this opinion — all

 Mr. Kinder can say is that the machine was “capable” of not shutting down in


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 response to a stuck throttle condition. He cannot explain why the snowmobile did

 not shut down because he cannot identify a defect. In forming his opinion, Mr.

 Kinder relies on his homemade “testing” of the Subject Snowmobile’s throttle

 release switch and a flawed understanding of certain Stuck Throttle Error codes

 stored in the Subject Snowmobile’s ECU.

        C.     Lack of Maintenance Opinion

       Despite Mr. Kinder’s admission that a lack of maintenance did not cause the

 alleged stuck throttle or TRS failure (Ex. 3, Kinder Dep. at 131:1-132:9), Mr. Kinder

 opines that there is a probability that routine maintenance of the Subject Snowmobile

 would have detected the alleged issue with the TRS system. But the Court will recall

 that Mr. Kinder cannot explain what that alleged issue might be. So instead, Mr.

 Kinder asserts, without any scientific or methodological basis at all, that because

 flawed testing suggested a 70% failure rate for the TRS (which is incorrect), there is

 a nearly 100% probability that the failure would have shown up during one of four

 scheduled maintenance intervals. However, this opinion is based on an unsupported

 assumption that the alleged defect existed since the time of manufacture of the

 Subject Snowmobile, despite Mr. Kinder’s acknowledgement that he cannot express

 any opinion regarding when the alleged defect came into existence. This is precisely

 the sort of speculation-cloaked-as-science that Daubert and its progeny are intended

 to exclude.

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                                LEGAL STANDARD

       Federal Rule of Evidence 702 governs expert testimony. It provides that a

 qualified expert may testify if:

       (a) the expert’s scientific, technical, or other specialized knowledge
       will help the trier of fact to understand the evidence or to determine a
       fact in issue; (b) the testimony is based on sufficient facts or data; (c)
       the testimony is the product of reliable principles and methods; and (d)
       the expert has reliably applied the principles and methods to the facts
       of the case.

 Fed. R. Evid. 702. District courts serve as gatekeepers in ensuring that expert

 testimony satisfies Rule 702. See Ask Chemicals, LP v. Computer Packages, Inc.,

 593 F. App’x 506, 509 (6th Cir. 2014); Daubert v. Merrell Dow Pharms., Inc., 509

 U.S. 579, 595 (1993). The importance of the gatekeeping requirement cannot be

 overstated. “The objective of that requirement is to ensure the reliability and

 relevancy of expert testimony. It is to make certain that an expert, whether basing

 testimony upon professional studies or personal experience, employs in the

 courtroom the same level of intellectual rigor that characterizes the practice of an

 expert in the relevant field.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152

 (1999). As such, Rule 702 requires “more than a subjective belief or unsupported

 speculation.” Daubert, 509 U.S. at 590; Tamraz v. Lincoln Elec. Co., 620 F.3d 665,

 675 (6th Cir. 2010) (observing that “the courtroom is not a place for scientific

 guesswork, even of the inspired sort”) (citation omitted.)



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                                    ARGUMENT

       Mr. Kinder’s expert testimony fails all three prongs of the Daubert analysis

 and should be excluded. First, Mr. Kinder is unqualified to offer any of the

 aforementioned opinions. Second, Mr. Kinder’s opinions lack the requisite indicia

 of reliability required for admissibility. Finally, Mr. Kinder’s speculative opinions

 will not assist the trier of fact in reaching a determination and are likely to confuse

 the jury. Because Mr. Kinder’s anticipated testimony does not and cannot meet the

 standard for admissibility under Daubert, it should be excluded in its entirety.

        A.     Mr. Kinder Lacks the Qualifications to Serve as an Expert in this
               Case.

       Before a court may allow a witness to testify as an expert, it must affirmatively

 find that the proffered witness is “qualified as an expert by knowledge, skill,

 experience, training, or education.” Fed. R. Evid. 702. While this requirement is

 often liberally construed, the Sixth Circuit has acknowledged that it “does not mean

 that a witness is an expert simply because he claims to be.” Pride v. BIC Corp., 218

 F.3d 566, 577 (6th Cir. 2000) (citing In re Paoli RR Yard PCB Litigation, 916 F.2d

 829, 855 (3d Cir.1990)). An expert’s general qualifications are not enough. See

 Whirley v. Kawasaki Motors Corp. U.S.A., No. 1:04-CV-1145-T-AN, 2006 WL

 8435273, at *5 (W.D. Tenn. May 12, 2006) (acknowledging that general

 qualifications alone do not provide sufficient expertise to testify about the specific

 issues at hand). If a witness is relying primarily on experience, then the witness must

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 explain how that experience leads to the conclusions reached, why that experience

 is a sufficient basis for the opinion, and how that experience is reliably applied to

 the facts. See Fed. R. Evid. 702, Advisory Comm. Notes.

       As gatekeeper, the Court must examine “not the qualifications of a witness in

 the abstract, but whether those qualifications provide a foundation for a witness to

 answer a specific question.” Berry v. Crown Equip. Corp., 108 F. Supp. 2d 743, 749-

 52 (E.D. Mich. 2000) (excluding safety consultant expert offering opinion on

 allegedly defective forklift because, inter alia, despite experience with general

 automobile manufacturing, expert never published articles on forklifts, never

 designed or installed safety components on a forklift, and never serviced a forklift)

 (citation omitted.) Here, Kinder lacks the knowledge, skill, experience, training, or

 education necessary to provide expert testimony concerning Plaintiffs’ defect theory.

       This is a snowmobile case. Snowmobiles lack front wheels, and instead have

 skis that will naturally search out the easiest path through imperfect terrain. Further,

 as opposed to drive wheels that connect to an engine via a transmission, a

 snowmobile is powered by a rotating track that makes contact with the snow. The

 handling characteristics and technique of a snowmobile are totally unlike those of

 wheeled vehicles. (Ex. 5, M. Warner Dep. 25:6.) Mr. Kinder would nonetheless

 have the jury believe that a snowmobile is just like any other engine-powered vehicle

 when it absolutely is not. This is unsurprising since Mr. Kinder has no specific

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 education on snowmobile riding, snowmobile repair, snowmobile throttle systems,

 or snowmobile safety assurance systems. (Ex. 3, Kinder Dep. 19:3-5; 19:25-20:4.)

 His educational background is limited to courses on vehicle dynamics, control

 systems, and electronic data recorders. (Ex. 3, Kinder Dep. 61:19-62:9, 65:10-15.)

       Notwithstanding his lack of relevant education, Mr. Kinder’s testimony

 demonstrates that his lack of snowmobile-specific expertise makes him unqualified

 to serve as an expert in this case. The most glaring example is Mr. Kinder’s lack of

 any knowledge of the unique potential causes of stuck throttles on snowmobiles. For

 example, Mr. Kinder also did not know that, most often, the ice or snow buildup

 happens when riding in wet snow conditions, when there is precipitation, or if the

 vehicle was rolled over, forcing the throttle controls into the snow. (Ex. 3, Kinder

 Dep. 39:18-21; 40:5-17.)      The first time Mr. Kinder even contemplated the

 snowmobile-specific causes of stuck throttles was when asked about it in his

 deposition:

       Q. Are you aware of any occurrences where precipitation actually caused a
       stuck throttle?

       A. Aside from what’s been provided to me, I don’t know of any cases, no.

       ....

       Q. All right. Let’s break it down a little bit. Is it less common for throttles to
       stick on a groomed trail versus other kinds of riding?

       A. I don’t know that other than you telling me prior.

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       Q. Is it less common for a throttle to stick on a dry day than on a day with a
       lot of precipitation?

       A. I’d expect that’s fair.

       Q. And is it less common for a throttle to stick when the vehicle hasn’t been
       tipped or rolled than if it has been tipped or rolled in the snow?

       A. You could probably make that argument, sure.

 (Ex. 3, Kinder Dep. 39:18-21; 40:14-24.)

       Moreover, Mr. Kinder has no relevant experience necessary to render expert

 opinions regarding the alleged defects in this case. This case is Mr. Kinder’s first

 opportunity to offer opinions regarding snowmobiles or any alleged snowmobile

 defect. (Ex. 3, Kinder Dep. 13:9-18.) He has no professional experience with

 snowmobiles whatsoever. Moreover, Mr. Kinder admits that he has only ridden a

 snowmobile for a few hours two or three times in his life, and he has not ridden a

 snowmobile at all in the past 15 years. (Ex. 3, Kinder Dep. 7:20-8:3, 8:7-10.). Mr.

 Kinder did not interview or speak with any experienced snowmobile riders. (Ex. 3,

 Kinder Dep. 14:23-25; 17:15-18.). He has no knowledge of the differences in riding

 tactics between groomed trails and various other terrains, like deep snow or

 mountain riding. (Ex. 3, Kinder Dep. 9:25; 10:1-12.) He has never inspected, tested,

 or repaired any snowmobile prior to this litigation. (Id. at 13:14-24; 19:8-11.)

       Simply put, Mr. Kinder stretches the bounds of credulity by claiming to be a

 snowmobile expert with no specialized education or training related to snowmobiles

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 or their throttle assemblies and having ridden a snowmobile for only several hours

 more than a decade ago. He fails to explain how his generalized mechanical

 engineering background applies to the conclusions he reached regarding the throttle

 system in the Subject Snowmobile, why that experience is a sufficient basis for his

 opinions, and how that experience is reliably applied to the facts of this case.

       In light of Mr. Kinder’s complete lack of relevant educational credentials,

 experience, training, skill, or knowledge with respect to the Subject Snowmobile’s

 throttle system design and maintenance, Mr. Kinder is not qualified to provide

 opinions on any of these topics and should not be permitted to testify as an expert

 witness. Whirley, 2006 WL 8435273, at *5 (“Despite [expert’s] extensive credentials

 and his expertise in mechanical engineering,” expert testimony excluded because he

 had “very limited experience with ATVs . . . in areas not germane to this litigation.”)

 (emphasis added).

        B.     Mr. Kinder’s Opinions Are Unreliable and Should be Excluded.

       Even if the Court deems Mr. Kinder qualified to testify as an expert, the Court

 should exclude his opinions regarding the alleged defect in the Subject

 Snowmobile’s throttle system because these opinions are patently unreliable. Not a

 single opinion that Mr. Kinder proffers is rooted in scientifically valid principles or

 methods. Simply put, Mr. Kinder did not conduct any reliable testing based on

 industry-standard methodology to support his speculative opinions that the Subject


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 Snowmobile’s throttle system failed. His “methodology” is based only upon witness

 testimony and an erroneous testing procedure.

       When evaluating whether expert testimony is rooted in a reliable methodology

 and scientifically valid, courts principally look to whether: 1) the expert’s hypothesis

 can be or has been tested; 2) the expert’s methodology has been subjected to peer

 review; 3) there is a significant rate of error associated with the methodology; and

 4) the methodology is generally accepted within the scientific community. Daubert,

 509 U.S. at 593-94, 113 S.Ct. 2786; Berry, 108 F. Supp. 2d at 749. Other factors

 that guide courts when examining an expert’s methodology include whether: (1) the

 expert will testify based on independent research or whether the opinion was

 developed expressly for purposes of litigation; (2) the expert has unjustifiably

 extrapolated to an unfounded conclusion; (3) the expert has adequately accounted

 for obvious alternative explanations; (4) the expert is exercising the same care as

 would be in their regular professional work; and (5) the field of expertise claimed

 by the expert is known to reach reliable results for the type of opinion offered. Siegel

 v. Dynamic Cooking Sys., Inc., 501 F. App’x 397, 403 (6th Cir. 2012). In other

 words, Courts are cautioned not to admit speculation, conjecture, or inference that

 cannot be supported by sound scientific principles.




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              1.    Mr. Kinder’s Opinion That A Stuck Throttle Occurred Cannot
                    Be Tested, Is Not Based On Scientific Data Or Technical
                    Grounds, And Is Not Based On A Reliable Methodology.

       First, Mr. Kinder does not have any scientific data or technical grounds to

 support the conclusion that a stuck throttle event occurred on the date of Plaintiff’s

 accident. For Plaintiff’s accident to occur, the Subject Snowmobile must have

 experienced two distinct conditions: 1) the Subject Snowmobile must have had a

 stuck-throttle; and 2) the Subject Snowmobile’s throttle release switch must have

 failed to shut the engine down in response to that stuck-throttle condition. With

 regard to the existence of a stuck-throttle condition, Mr. Kinder’s expert report is

 completely void of any physical evidence, research, studies, or publications. (See

 Ex. 4, Rep. of R. Kinder.) During the one requested inspection that lasted a “couple

 hours,” Mr. Kinder was never able to recreate a stuck throttle condition. (Ex. 3,

 Kinder Dep. 175:4-10; 218:25-219:1) “[W]e know that we tested it, and it didn’t

 stick. It moved freely during our testing.” (Id.). Nor did he seek to perform any

 destructive testing of the Subject Snowmobile or TRS. (Ex. 3, Kinder Dep. 173:11-

 174:1.) Moreover, he never visited the scene of the accident and did not perform an

 accident reconstruction. (Ex. 3, Kinder Dep. 46:17-47:1.)

       In an apparent attempt to account for the lack of evidence that a stuck throttle

 event occurred, Mr. Kinder admits that he relies solely on witness testimony to

 support his opinion:


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              Q. In your opinion, what caused the stuck throttle in this accident?

              A. Well, we went over most of that, but there are several possibilities.
              And essentially, we don’t have evidence other than testimony to rely as
              a basis to determine whether what the failure mode for the stuck throttle
              was. . . .

 (Ex. 3, Kinder Dep. 174:2-8.) (emphasis added.) And even assuming that Mr. Kinder

 could properly rely only upon witness testimony and not upon scientifically valid

 methodology (which he cannot), Mr. Kinder does not rely on all eyewitness

 testimony. Instead, he picks and chooses which testimony he finds credible and

 which he chooses to ignore. By way of example, Mr. Kinder concedes that he did

 not rely on Deborah Holmes’s testimony that the Subject Snowmobile accelerated

 beyond the amount of throttle she gave it because that could not possibly be accurate:

              Q. … And I asked, in your opinion did the snowmobile accelerate faster
              than the amount of throttle that you had given it? And she answers
              absolutely. Do you see that?

              A. I see that.
              …

              Q. Do you believe that that testimony accurately reflects what occurred
              leading up to the accident?

              A. It appears to be her perception, but I still agree that it could not
              accelerate beyond what was applied by her. If that was something that
              she perceived, I can’t speak to that. But in regards to accuracy, I think
              I know that if you are experiencing acceleration, it has to be from the
              amount that was applied to it.

              Q. So you would agree that this testimony is wrong, correct?

              A. Yes.
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              Q. And you don’t rely on this testimony in forming your opinions,
              correct?

              A. No.

 (Ex. 3, Kinder Dep. at 101:24-102:23.) Mr. Kinder then decided that Deborah

 Holmes’s testimony regarding the timing of the accident was similarly not credible:

              Q. … I asked Ms. Holmes, do you recall trying to apply the brakes to
              slow down the sled, and she answered I don’t remember that. It was a
              split second. The tree was there. Do you see that testimony?

              A. Yes.
              …

              Q. And do you believe that that testimony accurately reflects the events
              leading up to the accident?

              A. I don’t believe it accurately represents the events. It could accurately
              represent her perception, but not the events.

              Q. So you believe that that testimony is false?

              A. I believe that it was longer than a split second.

 (Ex. 3, Kinder Dep. at 103:23-104:14.) Mr. Kinder does, however, rely on Ms.

 Holmes’s testimony for the justification for why she did not hit the brakes or the kill

 switch before impacting the trees:

              Q. . . . I asked Ms. Holmes, so your position is you didn’t hit the brakes
              or the kill switch, or steer away from the trees because you couldn’t
              reach the handlebars? And she answered, and I only had a second. The
              tree was there. Do you see that?

              A. Yes, I do.
              ...
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              Q. Do you believe that that accurately reflects the events leading up to
              this accident?

              A. Yes.

              Q. You believe that she only had a second, and the tree was there?

              A. No, I believe that that was her perception that she only had a second,
              yes.
                                  *      *      *     *      *      *

              Q. Okay. So you’re going to rely on the part of her testimony that says
              her hands were thrown back, correct?

              A. I will assess whether that’s accurate.

              Q. Well, do you think it’s accurate? You’ve assessed this case for two
              years.

              A. Yes, I do think it’s accurate that she could not get to the kill switch,
              yes.

 (Id. at 105:11-106:2, 109:10.) By simply ignoring any testimony that is inconsistent

 with his theory, Mr. Kinder does nothing more than make credibility determinations

 regarding Deborah Holmes’s testimony. See Greenwell v. Boatwright, 184 F.3d 492,

 496 (6th Cir. 1999) (“Regardless of the intent or motivation of the expert in

 commenting on the eyewitness testimony, we agree . . . that the testimony regarding

 the credibility of eyewitness testimony was improper.”).

       As yet another example, Mr. Kinder completely ignores David Holmes’s

 statement given just days after the accident and instead relies on his directly contrary

 deposition testimony:
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              Q. Do you rely for your opinion that the throttle stuck 180
              feet from the trees on David Holmes’ testimony, that that’s
              what he saw, correct?

              A. Yes.

              Q. But you acknowledge that that testimony is inconsistent
              with the statement he gave just days after the accident?

              A. I do.

 (Ex. 3, Kinder Depo at 128:13-20.) This “cherry-picking” approach “undermines

 principles of the scientific method and is a quintessential example of applying

 methodologies (valid or otherwise) in an unreliable fashion.” In re Lipitor

 (Atorvastatin Calcium) Mktg., Sales Pracs. & Prod. Liab. Litig. (No II) MDL 2502,

 892 F.3d 624, 634-35 (4th Cir. 2018) (affirming district court’s exclusion of expert

 because expert’s report included the results of only the tests he performed that

 supported the plaintiffs’ argument). In sum, Mr. Kinder’s exclusive reliance upon

 favorable testimony and lack of any actual analysis or research renders his

 conclusion that the Subject Snowmobile suffered a stuck throttle completely

 unfounded.

              2.    Mr. Kinder’s Opinion That The Subject Snowmobile’s Throttle
                    Release Switch Failed to Shut Down The Subject Snowmobile
                    In Response To A Stuck Throttle Condition Is Based On A
                    Faulty Methodology And Unreliable Data.

       Mr. Kinder next contends that the Subject Snowmobile’s throttle release

 switch was capable of failing to shut down the Subject Snowmobile as designed


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 when a stuck throttle condition occurred. Because the Subject Snowmobile’s throttle

 never stuck during his testing, in order to test the TRS, Mr. Kinder physically

 manipulated the throttle lever and pivot pin to simulate a stuck-throttle condition.

 (Ex. 3, Kinder Dep. at 174:14-17; 219:16-220:24.) The images below are from

 Polaris’s Owner’s Manual and describe how to perform a test of the TRS.




       Mr. Kinder plainly performed this test improperly in a way that created self-

 serving and incorrect results. Mr. Kinder’s testing of the throttle was not performed

 with the aid of any rig, blocking, or other mechanical device that would ensure the

 lever was consistently prevented from pivoting. By using only his fingers to hold the

 pivot pin still, the lever was not totally prevented from pivoting, which resulted in

 false indications of a malfunction.

       According to Mr. Kinder, he performed the test “about 20” times and the TRS

 failed to shut the engine down “about 14” times. (Id. at 279:19-23.) Using nothing

 more than rudimentary statistics, Mr. Kinder concluded that if the Subject

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 Snowmobile experienced a stuck-throttle event, the TRS may fail to shut down the

 engine approximately 70% of the time. (Id. at 279:24-280:1.) Critically, however,

 none of his testing reliably supports the conclusion that a stuck-throttle event

 occurred at the time of Plaintiff’s accident, or that the engine failed to shut down in

 response to that specific stuck throttle condition.

       Mr. Kinder also erroneously relies on Stuck Throttle Error codes recorded in

 the Subject Snowmobile’s engine control unit (“ECU”) to support his opinion that

 the TRS failed to shut down the Subject Snowmobile at the time of the accident. The

 Subject Snowmobile’s ECU is designed to record various faults or errors that might

 occur during the operation of the snowmobile, including a Stuck Throttle Error code.

 This code merely records a mismatch between the throttle lever position and the

 throttle body itself. There can be various reasons why this happens – including

 testing of the TRS. A Stuck Throttle Error code does not tell us how long the

 mismatch lasted, when it occurred, or whether the engine shutdown in response.

 While the Subject Snowmobile’s ECU was found to contain 11 Stuck Throttle Error

 codes, it is completely unknown when these events happened, whether they lasted

 long enough to trigger the shut-down sequence, or whether the Subject Snowmobile

 shut down as designed. (See id. at 141:6-8 (explaining that there is “no way” to know

 when any stuck throttle code actually occurred because there is no associated time

 or mileage stamp).) Given that there is no evidence that any Stuck Throttle Error

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 code was generated at the time of the accident, Mr. Kinder’s reliance on these Stuck

 Throttle Error codes to support his stuck throttle and TRS failure opinion is nothing

 but “guesswork” that has no place in the courtroom. Avendt v. Covidien Inc., 262 F.

 Supp. 3d 493, 518 (E.D. Mich. 2017).

       Mr. Kinder transforms what amounts to a mere possibility of a TRS failure

 into an opinion that he claims is “within a reasonable degree of engineering

 certainty.” (Ex. 4, Kinder Rep. at 10.) But as discussed above, Mr. Kinder cannot

 point to any failed component, does not identify any defective design, does not

 identify any manufacturing defect, admits that maintenance of the Subject

 Snowmobile played no role in causing the accident, and cannot verify when any

 particular stuck-throttle event occurred, including on the day of the accident. Still,

 he simultaneously assumes that two merely possible events actually occurred to form

 his opinions: (1) the Subject Snowmobile experienced a stuck-throttle, and (2) the

 engine did not shut down in response. (Ex. 4 Kinder Rep. at 11-12.) Even then, he

 can only state that “there is ample evidence that the engine was capable of failing to

 shut down as designed when a throttle stuck condition occurred.” (Id. at 12

 (emphasis added).) The fact that a machine is capable of some response is not

 probative of whether it actually responded in that manner. Meemic Ins. Co. v.

 Hewlett-Packard Co., 717 F. Supp. 2d 752, 769 (E.D. Mich. 2010) (“causation

 theories that are mere possibilities or, at most, equally as probable as other theories

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 are simply insufficient.”) (internal quotation marks omitted.) As such, the “mere

 possibility” that the Subject Snowmobile failed to shut down in response to a stuck

 throttle is an opinion based only upon pure speculation without any objective,

 identifiable facts. This alone is fatal to Mr. Kinder’s ability to testify as an expert in

 this case. See Daubert, 509 U.S. at 590.

       Finally, because Mr. Kinder concludes that the Subject Snowmobile was

 “capable” of experiencing a stuck throttle and not shutting down, he has not

 adequately accounted for obvious alternative explanations. Namely, that either the

 Subject Snowmobile did not suffer a stuck throttle and, that if it did, the engine began

 to shut down in response. To be sure, the most obvious explanation for this accident

 is that Deborah Holmes unintentionally applied too much throttle as she traversed

 uneven terrain, lost control of the Subject Snowmobile, panicked, failed to apply

 either the brakes or the emergency stop button, failed to abandon the sled, and

 ultimately impacted the trees. Even experienced and skillful snowmobilers

 occasionally impact various objects. Mr. Kinder, however, ignores this probability

 entirely in a feeble attempt to shoehorn his unsupported engineering analysis into

 Plaintiffs’ theory of the case. Avendt, 262 F. Supp. 3d at 531 (“The failure [of an

 expert] to consider other possible causes in [plaintiff’s] case is a ‘red flag’ of

 unreliability.”) (citations omitted).




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              3.    Mr. Kinder’s Opinion That A Lack Of Maintenance Contributed
                    To Plaintiff’s Accident Is Pure Speculation.

       Mr. Kinder’s final opinion is not that Polaris’s alleged lack of maintenance of

 the Subject Snowmobile caused Plaintiff’s accident but that, during routine vehicle

 maintenance, Polaris could have potentially identified an issue with the throttle and

 the engine’s ability to shut down thereby allowing a repair prior to Plaintiff’s

 accident. Mr. Kinder, who has no educational background or experience in

 snowmobile maintenance, bases this opinion on his own methodology created for

 this litigation. (Ex. 3, Kinder Dep. 8:1-3;151:10-152:-9). Specifically, Mr. Kinder

 contends that if Polaris followed the suggested maintenance schedule, there would

 have been four maintenance tests prior to the accident. Mr. Kinder utilizes his flawed

 “70 percent probability” conclusion that the Subject Snowmobile will experience a

 throttle failure to then “calculate [the] probability based on at least one failure in

 those four tests.” (Id. at 151:10-152:9.) As Mr. Kinder himself acknowledges, there

 are several self-serving assumptions he made in relying upon this methodology,

 including the assumption that the alleged defect existed from the time the Subject

 Snowmobile was manufactured:

       Q. Got it. But that calculation assumes that on all four of those occasions the
       alleged defect already existed?

       A. Yes.




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       Q. So, in fact, if the defect didn’t exist by 150 miles, then it’s not four
       occasions where Polaris could have detected the alleged defect in the throttle
       safety switch. It’s only three, right?

       A. Sure.

       Q. And if it didn’t exist by 500 miles, then it’s not four occasions on which
       Polaris could have detected the alleged defect in the throttle safety switch, it’s
       two?

       A. That’s true.

       Q. But if the defect didn’t exist by 1,000 miles, then the probability that
       Polaris could have detected the alleged defect in the throttle safety switch is
       only one time, just the 2,000 mile check, right?

       A. Just the 2,000, yes.

 (Id. at 152:10-153:1.). Mr. Kinder’s testimony begs the question: how can he offer

 a reliable opinion that Polaris could have “potentially” identified a defect when he

 cannot state with any certainty that a defect existed during each of the four

 occasions? The answer is simple - he cannot. Even if Mr. Kinder could state with

 certainty that a defect existed on each of the four maintenance occasions, Mr.

 Kinder’s proffered opinion is dependent upon his flawed and speculative opinion

 that the Subject Snowmobile’s TRS fails 70% of the time.

       Not only is Mr. Kinder’s made-for-this-litigation methodology speculative

 and completely void of scientific principles, but Mr. Kinder’s testimony is irrelevant

 to Plaintiffs’ claims. Indeed, Plaintiffs claim that Polaris missed potential

 opportunities to discover a failure of the snowmobile to shut down when a throttle-

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 stuck error occurred. Yet, Mr. Kinder explicitly acknowledged that Polaris’s alleged

 failure to service the Subject Snowmobile did not cause either the stuck-throttle

 event or failure of the engine shutdown sequence:

       Q. Would you agree with me that this alleged failure to maintain the vehicle
       didn’t cause a stuck throttle?

       A. I agree.

       Q. It’s not like a situation where you failed to maintain your brakes, and your
       brake fluid gets too much water in it, and the brake fluid boils, and it causes a
       brake failure?

       A. I would agree.
                           *     *      *        *    *     *

       Q. But the lack of maintenance is not what caused the engine not to shut down
       in response to a stuck throttle?

       A. That’s true.

 (Ex. 3, Kinder Dep. 131:1-8; 131:23-132:1.)

       In sum, Mr. Kinder’s methodology behind his lack of maintenance opinion is

 unscientific and not based on any actual analysis or research. Daubert demands

 more. The basic foundation for admissibility of expert testimony is that it “must be

 supported by appropriate validation—i.e., ‘good grounds,’ based on what is known.”

 Daubert, 509 U.S. at 590. Mr. Kinder does not and cannot demonstrate that such

 “good grounds” exist here.




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        C.     Mr. Kinder’s Opinions are Not Relevant and Will Not Assist the
               Trier of Fact.

       The final prong of the Court’s analysis of proposed expert testimony is

 commonly referred to as the “fit” requirement. In Daubert, the Supreme Court

 explained that expert testimony from a qualified expert, even if based on a sound

 methodology, is not admissible if it is not “relevant to the task at hand.” Daubert,

 590 U.S. at 597. With this in mind, the Court’s role is especially significant because

 an expert’s opinion “can be both powerful and quite misleading because of the

 difficulty in evaluating it.” See Daubert, 509 U.S. at 595. Indeed, because expert

 testimony can be very powerful, it is essential to ensure that only scientifically

 reliable methods are used to produce the opinions offered to a jury.

       Mr.   Kinder’s    anticipated   expert   testimony regarding the Subject

 Snowmobile’s alleged defects will not be helpful to the trier of fact. First, as

 discussed in Section B(1), Mr. Kinder’s opinion concerning the occurrence of a stuck

 throttle event impedes the role of the jury because it relies exclusively on cherry-

 picked witness testimony, which the jurors can evaluate for themselves. See In re

 Lipitor at 892 F.3d at 634-35; see also Greenwell, 184 F.3d at 496. Second Mr.

 Kinder’s opinions do nothing to assist a lay juror in understanding Plaintiffs’ defect

 theories. In fact, Mr. Kinder cannot identify any specific defect concerning the

 Subject Snowmobile’s throttle system or explain what exactly caused the throttle

 system to “fail.” Mr. Kinder made this abundantly clear during his deposition:

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             Q. Do you have an opinion to a reasonable degree of engineering
             certainty that there is a defect in the throttle safety switch?

             A. Not any more than the overall system itself, no.
                               *     *      *      *      *      *

             Q. And you didn’t identify any defect in the throttle safety switch
             sensors?

             A. Is [sic] don’t know where the defect exists, so I can’t answer that.

             Q. And you didn’t identify any defect in the throttle cable?

             A. Other than the kink that’s near the housing, I don’t believe there’s
             an issue with the cable that was addressed at my inspection. Seemed to
             work normally.
                                 *      *     *      *     *     *

             Q. And you weren’t able to identify any defect in the throttle plates,
             correct?

             A. That’s correct.

             Q. And you weren’t able to identify any defect in the throttle body,
             correct?

             A. That’s correct.

             Q. You weren’t able to identify any defect in the engine stop switch,
             correct?

             A. That’s correct.

 (Ex. 3, Kinder Dep. 228:8-11; 228:18-229:1; 229:13-21.)

       As such, Mr. Kinder’s testimony cannot possibly assist the trier of fact. His

 speculative, unsupported opinions fail to identify a single defect or provide

 specialized knowledge concerning the cause of the alleged stuck throttle or TRS
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 failure. This is fatal to Mr. Kinder’s ability to testify as an expert in this case, as his

 opinions will do nothing but mislead the jury. See Daubert, 509 U.S. at 595. Indeed,

 because expert testimony can be assigned talismanic significance in the eyes of

 jurors, it is essential to ensure that Mr. Kinder’s unsupported opinions are excluded.

 Id.

                                     CONCLUSION

          For all the reasons set forth above, Polaris asks the Court to bar Robert

 Kinder’s testimony because it fails to meet the Rule 702 standard for expert opinions.

 His unqualified, unsupported, and unreliable testimony has no place in the upcoming

 trial.



 DATED: May 18, 2022

                                         Respectfully submitted,

                                         s/ Matthew E. Nirider
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                           CERTIFICATE OF SERVICE

       I hereby certify that on May 18, 2022, I electronically filed the foregoing

 document with the Clerk of the Court using the ECF system, which will send

 notification of such filing to all counsel of record in this matter.



                                          /s/ Matthew E. Nirider
                                          Matthew E. Nirider
